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                             UNITED STATES DISTRICT COURT

                                   DISTRICT OF OREGON

                                   PORTLAND DIVISION


 ANITA NOELLE GREEN, an individual,               Case No. 3:19-CV-02048-MO
                Plaintiff,

     v.                                           DEFENDANT’S MOTION TO
                                                  DISMISS AND SUPPORTING
 MISS UNITED STATES OF                            MEMORADUM OF LAW
 AMERICA, LLC, a Nevada limited
 liability corporation, d.b.a. United States of   Oral Argument Requested
 America Pageants,

                Defendant.




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                             LOCAL RULE 7-1 COMPLIANCE

       In compliance with this Rule, the parties made a good faith effort through telephone

conferences to resolve the dispute and have been unable to do so.

                                           MOTION

       This is a civil action for alleged gender identity discrimination brought under ORS

659A.403, Oregon’s Public Accommodations Act— “the Act.” Plaintiff is a biological male

who identifies as female and claims she was wrongly discriminated against because
defendant did not allow her to enter its beauty pageant, which is limited to natural born

biological females.

       Under Fed. R. Civ. P. 12(b)(6), Defendant moves to dismiss Plaintiff’s Complaint
with prejudice for failing to state a claim. That is because holding Defendant liable would, as

a matter of law, violate its rights of free association and free expression contained in the First

Amendment to the United States Constitution as interpreted in the controlling U.S. Supreme
Court cases Defendant discusses below—Hurley and Dale. As the caption of the Complaint

shows, defendant and its pageant are called “Miss United States of America. That simple,

undisputed fact, and the First Amendment rights of free association and expression—and
Hurley and Dale holding that those constitutional rights preclude liability through a state

public accommodations act under similar facts, dictates the dismissal of this case.

        Also, holding defendant liable would violate the same, but even broader, Free

expression and free association rights in Oregon’s Constitution. Dismissal is appropriate

because Plaintiff cannot cure the complaint by alleging additional facts. Lopez v. Smith, 203

F.3d 1122, 1127 (9th Cir. 2000) (en banc).




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                                      INTRODUCTION

       Defendant promotes, celebrates, and encourages biological, natural born women by

performing pageants across the country that give women confidence-building opportunities.

Its motto is to empower women, inspire others, and uplift everyone. To achieve its mission
and to promote its message of biological female empowerment, Defendant has eligibility

rules for contestants, including application deadlines and the requirement that contestants be

“natural born female[s].” These rules are essential to create an equal playing field for all

female contestants and to promote Defendant’s message of what it means to be a woman—a

biological female.

       But according to Plaintiff, a man who identifies as a woman, Defendant must accept
Plaintiff—even though Plaintiff missed the application deadline—and any other man who

identifies as a woman, into its biological female-only competition—or Defendant

discriminates based on gender identity, violates the Act, and faces crippling damages,

attorneys’ fees, mandatory training, and injunctions. See Complaint.

       Thus, Plaintiff does not seek equal access, but seeks to fundamentally change

Defendant’s mission, alter its core message, and take away a level playing field from

biological women competing for the pageant’s crown. Oregon law does not allow this.

Plaintiff cannot use it to co-opt Defendant’s message, undermine its vision, or violate its

constitutional free speech or free association rights.

       Plaintiff’s Complaint fails as a matter of law. Plaintiff filed this lawsuit too late, and

the First Amendment to the United States Constitution, and the corresponding provision of

the Oregon Constitution, (Article I § 8), protect Defendant’s freedom to express the message

of its choosing—not the message Plaintiff demands and can easily express elsewhere. Thus,

the Court should dismiss Plaintiff’s Complaint with prejudice.




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                                      ALLEGED FACTS

       Defendant showcases “beauty pageants for females” throughout the United States.

(Complaint at ¶ 6.) It does so to “encourage women to strive to achieve their hopes, dreams,

goals of, and aspirations, while making them feel confident and beautiful inside and out.” Id.
at ¶15 (emphasis added). And Defendant promotes “women empowerment, promoting

positive self-image and advocating a platform of community service, which allows [its]

contestants to rise by lifting others.” Ex. A at 1; Complaint at ¶15.1 Defendant’s “motto is to

empower women, inspire others, & uplift everyone!” Ex. A at 1. In all of this, Defendant

promotes “community and ‘sisterhood” among pageant participants.” Complaint at ¶ 15)

(emphasis added).

       To convey these messages of female empowerment, body-positivity, and community

involvement, Defendant has eligibility requirements for its contestants. (Complaint at ¶ 20;

Ex. A at ¶¶ 1-3.) One rule is that contestants be “natural born female[s].” Id. at ¶ 21; Ex. A at

1-3 (emphasis added). Other rules bolster Defendant’s message. For example, Defendant

forbids applicants who have “posed nude in film or print media.” (Complaint at ¶ 20; Ex. A

at 2-3.) Defendant also has age, residency, marital status, and maternity requirements which
place the applicants into particular divisions (i.e. “Ms.” division, “Mrs.” division). Complaint

at ¶ 20; Ex. A at 2-3.



1
  Exhibit A is a copy of Defendant’s Oregon webpage. When a complaint “necessarily relies”
on an outside document, a court may consider it if “(1) the complaint refers to the document; (2)
the document is central to the plaintiff’s claim; and (3) no party questions” the document’s
authenticity. Marder v. Lopez, 450 F.3d 445, 448 (9th Cir. 2006). This Court may accept
Exhibit A as part of the complaint because the complaint refers to and relies on Defendant’s
website and on Defendant’s rules, located on that website. (Complaint at ¶¶ 2, 11, 15, 20;
Daniels-Hall v. Nat’l Educ. Ass’n, 629 F.3d 992, 998 (9th Cir. 2010) (considering website
referenced in a Complaint). When a document is incorporated by reference, a court can accept
the contents of the incorporated document as true, United States v. Ritchie, 342 F.3d 903, 908
(9th Cir. 2003), and reject complaint allegations that are contradicted by the incorporated
document, Johnson v. Fed. Home Loan Mortg. Corp., 793 F.3d 1005, 1008 (9th Cir. 2015).


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       After Defendant selects contestants and places them into relevant divisions, the

contestants compete in several competitions: private and on-stage interviews, a sportswear or

swimsuit competition, and an evening gown competition. Complaint at ¶ 11; Ex. A at 2-3.

The winner is crowned a “titleholder.” (Complaint at ¶ 13) And throughout, “beauty and
femininity remain central” themes to Defendant’s pageants. Id. at ¶ 1 (emphasis added).

       Not only does Defendant convey its own messages, but it provides contestants with

“speaking platforms.” Id. at ¶ 19. These platforms give contestants the chance to “improve

their public speaking skills” and “have a voice in a public forum.” Id. at ¶ 17. Contestants’

opinions often reach a vast audience because they “gain public and media exposure.” Id.

       Along with speaking platforms, Defendant provides contestants with other benefits
designed to build self-confidence. Id. Contestants “engage in social and civic benefits, build

their resume, earn scholarships, and travel.” Id.

       In speaking a particular view, Defendant is not unusual. While it conveys the message

that being a “natural born female” is fundamental to what it means to be a woman, other

pageants disagree. The Miss Universe pageant, for example, allows men who identify as

women to compete and encourages them “to be viewed as equally feminine and as beautiful

as their cisgender peers.” Id. at ¶ 24. Other pageants also permit men who identify as women

to compete. Id. at ¶¶ 24, 27-28.

       In other words, different pageants promote and express different ideas about

“womanhood.” While Defendant defines and celebrates women based on their biological sex

(i.e. their gender “assigned at birth”), other pageants define and promote women based on

how they currently “identify.” Id. at ¶¶ 3-4, 26.

       On December 7, 2018, Plaintiff reached out to Ms. Tanice Smith (Defendant’s

Executive Director) through Facebook. Ex. B.2 Plaintiff “inquired about participating in”

2
 The complaint “refers to” Exhibit B, Complaint at ¶¶ 14, 31-33, and it is “central to the
plaintiff’s claim” against Defendant, id. at ¶¶ 14, 32-33, 39. See supra note 1.


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Defendant’s programs. Complaint at ¶ 31. At Plaintiff’s request, Ms. Smith gave Plaintiff a

copy of Defendant’s rules. Ex. B. After learning about the natural-born-female rule, Plaintiff

told her that Plaintiff is “transgender.” Id. Ms. Smith twice offered to help Plaintiff find

another pageant, but Plaintiff declined. Id. Plaintiff then ended the conversation, saying
Plaintiff would “talk to my attorney about this.” Id.

       Plaintiff began participating in pageants as an “openly transgender contestant” in

2017. (Complaint at ¶ 27. ) Since then, Plaintiff has competed in pageants in Montana,

Oregon, and Nevada. Id. at ¶¶ 27-28. In 2019, Plaintiff became the Oregon Miss Earth Elite

titleholder, which qualified Plaintiff to compete in the 2019 National Miss Earth Elite

pageant. Id. at ¶ 28. Plaintiff participates in pageants to improve “public speaking skills,” to
obtain “a public platform in which to discuss important social issues,” and to be “a positive

and inspiring example….” Id. at ¶ 29 (emphasis added).

       On January 29, 2019, Plaintiff submitted an entry fee and application to participate in

one of Defendant’s 2019 pageants. Ex. C.3 Defendant declined that application because the

“entry deadline for [the] 2019 pageant has passed” and Defendant was “not currently taking

applications for [the] 2020 pageant.” Ex. C.

       Plaintiff then filed this lawsuit on December 17, 2019. Plaintiff accuses Defendant of

violating the Act by only allowing pageant contestants who are biological women.

(Complaint at ¶¶ 2, 35-40.) According to Plaintiff, the Act requires “public

accommodation[s]” to provide “full and equal accommodations … without any distinction …

on account of … sexual orientation” (defined to include gender identity), and, therefore, the

Act requires Defendant to admit, promote, and celebrate biological men who identify as


3
  The complaint “refers to” Exhibit C (Complaint at ¶ 34), and it is “central to the plaintiff’s
claim” against Defendant, id. at ¶¶ 34, 39; see supra note 1; Parrino v. FHP, Inc., 146 F.3d 699,
706 (9th Cir. 1998) (courts may consider documents upon which a plaintiff’s claims are
predicated). Likewise, the complaint alleges Defendant rejected the application on January 19,
2019, a date Exhibit C contradicts.


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women because it does so for biological women. Id.; ORS 659A.403; ORS 174.100(7)

“sexual orientation” means, among other things, “gender identity”).

       If someone violates the Act, they are subject to crippling damages and attorneys’ fees.

See ORS 659A.885(8) (outlining remedies). Indeed, Plaintiff seeks more than $75,000 from
Defendant, plus fees and costs. (Prayer for Relief, ¶ 4(a)-(c).)

       But Plaintiff wants more than damages. Plaintiff wants to change Defendant’s

expression by forcing it to remove the “natural born female” rule, allow biological men to

freely participate and promote their definition of womanhood through Defendant, and to

force Defendant’s employees to undergo “training” to be reeducated. Id.

                                          ARGUMENT
       The Court should dismiss Plaintiff’s Complaint under Fed. R. Civ. P. 12(b)(6) for

failing to state a claim. To survive a 12(b)(6) motion to dismiss, a Complaint must contain

sufficient factual matter to state a claim for relief that is plausible on its face. Cervantes v.
Countrywide Home Loans, Inc., 656 F.3d 1034, 1041 (9th Cir. 2011). And though this Court

must accept all factual allegations as true, it need not accept mere labels and legal

conclusions. Id. This Court may also consider documents incorporated into the Complaint by
reference. See supra notes 1 & 3. “To survive a Rule 12(b)(6) motion to dismiss, a

Complaint must contain sufficient factual matter, accepted as true, to state a claim to relief

that is plausible on its face. “The plausibility standard asks for more than a sheer possibility

that a defendant has acted unlawfully;” and “a court need not accept as true legal

conclusions. Threadbare recitals of the elements of a cause of action, supported by mere

conclusory statements, do not suffice.” Patton v. Thomas, 2011 WL 4544072 at *1 (D Or

2011) (Judge Mosman) (citations and internal quotations omitted). “A complaint must

contain sufficient factual allegations to “plausibly suggest an entitlement to relief, such that it

is not unfair to require the opposing party to be subjected to the expense of discovery and



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continued litigation.” Unigestion Holdings, S.A. v. UPM Technology, Inc., 412 F.Supp.3d
1273, 1279 (D Or 2019) (Judge Simon citing a 9th Circuit case and granting the defendants’

FRCP 2(b)(6) motion to dismiss). See also Foley v. Wells Fargo Bank, N.A., 772 F.3d 63, 72

(1st Cir 2014) (“A primary purpose of a Rule 12(b)(6) motion is to weed out cases that do

not warrant reaching the oftentimes laborious and expensive discovery process because,

based on the factual scenario on which the case rests, the plaintiff could never win.”).

         Plaintiff’s Complaint fails to meet this standard for three reasons.

         First, timeliness. Plaintiff complains about conduct that occurred more than a year

before Plaintiff filed this lawsuit—after the Act’s statute of limitations. And Plaintiff fails to

allege that Defendant rejected the 2019 application on account of gender identity rather than
because Plaintiff filed the application after Defendant’s deadline.

         Second, the First Amendment. It protects Defendant’s speech and expressive

association, and bars the Act from compelling Defendant to speak messages or to engage in
associations that undermine Defendant’s message. Plaintiff’s requested relief would force

Defendant to speak and associate in ways that undermine Defendant’s message about

empowering only biological women. That is unconstitutional as a matter of law according to
the U.S. Supreme Court decisions in Hurley and Dale, and the decision of the Western

District of Washington in Apilado, which applies Hurley, and other related cases discussed

below.
         Third, the Oregon Constitution protects Defendant’s freedom to control its message

even more broadly than the First Amendment. Plaintiff’s requested relief would force

Defendant to speak and associate in ways that undermine Defendant’s message about
empowering biologically born women in violation of the Oregon Constitution.




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I.     The Complaint fails to state a claim under the Act.

       A.      Plaintiff filed the Complaint more than a year after the alleged conduct
               occurred.
       Claims under the Act “must be commenced within one year of the occurrence of the

unlawful practice.” ORS 659A.875(4); OAR 839-003-0020(5). Plaintiff filed the Complaint

on December 17, 2019. So, Plaintiff cannot state a claim based on anything before December
17, 2018.

       But Plaintiff’s claim partially relies on Facebook messages with Ms. Smith,

Defendant’s Executive Director. (Complaint at ¶¶ 31-33.) And though Plaintiff says these

communications occurred on December 20, 2018 (Complaint at ¶ 31), they really occurred

on December 7, 2018, as the Facebook messages show. Ex. B at 1. Because Exhibit B refutes

Plaintiff’s allegations, the Court should accept December 7, 2018 as the conclusive date of
the Facebook communications. See Johnson, 793 F.3d at 1007-08 (ignoring breach of

contract allegations contradicted by a deed of trust). Exhibit B also proves that Plaintiff had

notice of any alleged Act violations on December 7, 2018: and Plaintiff rejected Ms. Smith’s
offer to help Plaintiff find another pageant by threatening to talk to an “attorney about this

then because discrimination is unacceptable.” Ex. B.

       Because December 7, 2018 is more than a year before Plaintiff filed this Complaint,

and because Plaintiff had notice of any possible claim at that time, Plaintiff’s claim based on

the Facebook messages is time-barred as a matter of law. See Abukhalaf v. Morrison Child &

Family Servs., 2009 WL 4067274, at *4-6 (D Or 2009) (applying one-year statute of
limitations). Plaintiff should not be excused from violating the time limit set by the Oregon

legislature.
       B.      Plaintiff never alleges that Defendant declined Plaintiff’s application
               because of “gender identity.”
       The Court should also dismiss the Complaint because it fails to allege that Defendant

rejected Plaintiff’s 2019 application on account of gender identity.


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       The Act requires public accommodations to provide “full and equal” access “without

any distinction, discrimination or restriction on account of” certain characteristics, including

gender identity. ORS 659A.403(1). “On account of” means “by reason of” or “because of.”

Klein v. Oregon Bureau of Labor & Indus., 410 P3d 1051, 1061 (Or App 2017), vacated and
remanded on other grounds, 139 S. Ct. 2713 (2019). “Distinction, discrimination or

restriction” means denial or unequal treatment. King v. Greyhound Lines, 656 P 2d 349, 351

(Or App 1982). Taken together, Plaintiff must allege Defendant denied Plaintiff access or

treated Plaintiff unequally “because of” Plaintiff’s gender identity. Harrington v. Airbnb,

Inc., 348 F. Supp. 3d 1085, 1089-90 (D Or 2018). Plaintiff fails to do that.

       Although Plaintiff alleges Defendant denied Plaintiff’s application, Plaintiff never
alleges Defendant did so “on account of” gender identity.

       And for good reason. Ms. Smith politely declined Plaintiff’s application because

Defendant’s “entry deadline for our 2019 pageant ha[d] passed” before Plaintiff applied. Ex.

C.4 This had nothing to do with Plaintiff’s gender identity. See Rogers v. New York City Bd.

of Elections, 988 F. Supp. 409, 412 (S.D.N.Y. 1997) (mayoral candidate’s exclusion from

televised debate not discrimination when “he missed the deadline for inclusion in the

program”). Defendant declined Plaintiff’s application because it was late, not because of

Plaintiff’s gender identity.

       Application deadlines are a necessity for Defendant. It operates “throughout the

United States,” organizes competitions for four divisions, and provides winners with prizes

worth thousands of dollars. (Complaint at ¶¶ 6, 11, 16.) With so much to coordinate, and to

be fair to applicants who comply with the rules, Defendant needs to apply administrative
rules to function properly. That is all that happened here.



4
  Because Exhibit C is incorporated into the complaint by reference, the Court may “assume that
its contents are true.” Ritchie, 342 F.3d at 908; see also supra note 1.


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II.    Applying the Act to Defendant would violate its First Amendment free speech
       and free association rights under the U.S. Supreme Court’s holdings in Hurley
       and Dale.

       A.     The Act would violate the First Amendment by compelling Defendant to
              speak a message it disagrees with.
       The First Amendment protects “both the right to speak freely and the right to refrain

from speaking at all.” Wooley v. Maynard, 430 U.S. 705, 714 (1977). “Compelling

individuals to mouth support for views they find objectionable violates [a] cardinal

constitutional command, and in most contexts, any such effort would be universally

condemned.” Janus v. Am. Fed’n of State, Cty., & Mun. Employees, Council 31, 138 S. Ct.

2448, 2463 (2018). In other words, the First Amendment protects a “fundamental rule”—
“that a speaker has the autonomy to choose the content of his own message.” Hurley v. Irish-

Am. Gay, Lesbian & Bisexual Grp. of Boston., 515 U.S. 557, 573 (1995).

       But Plaintiff seeks to violate this fundamental rule of constitutional law by forcing
Defendant to speak messages about women it disagrees with. Specifically, Defendant (1)

engages in protected speech through its pageant, and (2) Plaintiff demands access to this

pageant, which thereby force Defendant to convey messages about women it disagrees with.

This is forbidden compelled speech. See Hurley, 515 U.S. at 572-73 (analyzing these two

factors to find compelled speech).5

       And compelled speech like this must overcome strict scrutiny. See Pac. Gas & Elec.

Co. v. Pub. Util. Comm’n of Cal. (Pacific Gas), 475 U.S. 1, 19 (1986) (plurality) (applying

strict scrutiny to a law compelling speech).

       Hurley controls and thus deserves a full review before turning to the controlling test.



5
 Defendant can invoke a First Amendment affirmative defense against Plaintiff (a private party)
because Plaintiff tries to use the Act and an order from this Court to regulate speech. See
Hurley, 515 U.S. at 568-81 (deciding First Amendment defense in civil suit brought by private
party); Jian Zhang v. Baidu.com Inc., 10 F. Supp. 3d 433, 436–37 (S.D.N.Y. 2014) (collecting
cases justifying this usage).


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       Hurley requires the dismissal of this case.
       Hurley—along with the Dale and Apilado cases (discussed below)—dictate the

dismissal of this case based on the First Amendment.

       In Hurley, the issue was “whether Massachusetts may require private citizens who

organize a parade to include among the marchers a group imparting a message the organizers

do not wish to convey”—supporting the LGBTQ agenda. Hurley, 515 U.S. at 559. The

Supreme Court held the First Amendment prohibited Massachusetts—through its very

similar public accommodations antidiscrimination statute—from doing this. Id. So, this

Court should reach the same result here and dismiss this case.

       In Hurley, the petitioners were the South Boston Allied war Veterans Council, “an
unincorporated association of individuals elected from various South Boston veterans

groups,” who had organized a parade since the 1940s. Id. at 560. The respondents were an

LGBTQ organization (GLIB) that, like the transgender Plaintiff here asking to participate in
defendant’s pageant, wanted “to march in the parade as a way to express pride in their Irish

heritage as openly gay, lesbian, and bisexual individuals, to demonstrate that there are such

men and women among those so descended, and to express their solidarity with like

individuals who sought to march in New York’s St. Patrick’s Day Parade.” Id. at 561.

       After being refused access to the parade, GLIB filed suit in state court alleging

violations of the state public accommodations law, which like Oregon’s, prohibits “any

distinction, discrimination or restriction on account of ... sexual orientation ... relative to the

admission of any person to, or treatment in any place of public accommodation, resort or

amusement.” Id. The state court held the parade organizers violated the law by excluding

GLIB based on its members’ sexual orientation. Id. at 562. The state court also “rejected the

notion that GLIB’s admission would trample on the [parade organizers’] First Amendment

rights.” Id. at 563. The state supreme court affirmed. Id. at 564.




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       The U.S. Supreme Court in Hurley framed the disagreement between the parade

organizers and GLIB as follows:

           [T]he disagreement goes to the admission of GLIB as its own parade unit
       carrying its own banner. Since every participating unit affects the message
       conveyed by the private organizers, the state courts’ application of the statute
       produced an order essentially requiring petitioners to alter the expressive
       content of their parade. Although the state courts spoke of the parade as a place
       of public accommodation, once the expressive character of both the parade and
       the marching GLIB contingent is understood, it becomes apparent that the state
       courts’ application of the statute had the effect of declaring the sponsors’ speech
       itself to be the public accommodation. Under this approach any contingent of
       protected individuals with a message would have the right to participate in
       petitioners’ speech, so that the communication produced by the private
       organizers would be shaped by all those protected by the law who wished to join
       in with some expressive demonstration of their own. But this use of the State’s
       power violates the fundamental rule of protection under the First Amendment,
       that a speaker has the autonomy to choose the content of his own message.
Hurley, 515 U.S. at 572-73 (internal citations omitted; emphasis added). The Court went on
to explain how the parade “speaks”:

           Rather like a composer, the Council selects the expressive units of the parade
       from potential participants, and though the score may not produce a
       particularized message, each contingent’s expression in the Council’s eyes
       comports with what merits celebration on that day. Even if this view gives the
       Council credit for a more considered judgment than it actively made, the
       Council clearly decided to exclude [an LGBTQ] message it did not like from the
       communication it chose to make, and that is enough to invoke its right as a
       private speaker to shape its expression by speaking on one subject while
       remaining silent on another. The message it disfavored is not difficult to
       identify. Although GLIB’s point (like the Council’s) is not wholly articulate, a
       contingent marching behind the organization’s banner would at least bear
       witness to the fact that some Irish are gay, lesbian, or bisexual, and the presence
       of the organized marchers would suggest their view that people of their sexual
       orientations have as much claim to unqualified social acceptance as
       heterosexuals and indeed as members of parade units organized around other
       identifying characteristics. The parade’s organizers may not believe these facts
       about Irish sexuality to be so, or they may object to unqualified social
       acceptance of gays and lesbians or have some other reason for wishing to keep
       GLIB’s message out of the parade. But whatever the reason, it boils down to the
       choice of a speaker not to propound a particular point of view, and that choice
       is presumed to lie beyond the government’s power to control.


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Id. at 574-75 (emphasis added).

       Applying the state public accommodations law to the parade violated its First

Amendment rights. This was so because even though the law was “a piece of protective

legislation that announces no purpose beyond the object both expressed and apparent in its
provisions, which is to prevent any denial of access to (or discriminatory treatment in) public

accommodations on proscribed grounds, including sexual orientation,” when the law was

applied to expressive activity (the parade) “its apparent object is simply to require speakers

to modify the content of their expression to whatever extent beneficiaries of the law choose

to alter it with messages of their own.” Id. at 578. But this object was unconstitutional

because it merely “allow[ed] exactly what the general rule of speaker’s autonomy forbids.”
Id.
       The Court went even further in its criticism of this application of the law:

           The very idea that a noncommercial speech restriction be used to produce
       thoughts and statements acceptable to some groups or, indeed, all people, grates
       on the First Amendment, for it amounts to nothing less than a proposal to limit
       speech in the service of orthodox expression. The Speech Clause has no more
       certain antithesis. While the law is free to promote all sorts of conduct in place
       of harmful behavior, it is not free to interfere with speech for no better reason
       than promoting an approved message or discouraging a disfavored one, however
       enlightened either purpose may strike the government.
Id. at 579.

       For all of these reasons, the Court reversed the state court’s decision, and concluded

that the parade could not be forced to include LGBTQ marchers who violated the parade

organizers’ “autonomy to choose the content” of their message. Id. at 566, 572-573. This

Court must follow Hurley and should dismiss this case.

       Defendant engages in protected speech.

       Defendant engages in protected speech because it communicates a message of

biological, natural born female empowerment through its pageant.



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       While its pageant is not a pamphlet or a political oration, “the Constitution looks

beyond written or spoken words as mediums of expression.” Hurley, 515 U.S. at 569. The

First Amendment routinely protects efforts of groups to publicly convey messages, such as in

parades (Hurley, 515 U.S. at 569), marches (National Socialist Party of America v. Skokie,
432 U.S. 43 (1977)), stage productions (Southeastern Promotions, Ltd. v. Conrad, 420 U.S.

546 (1975)), sit-ins (Brown v. Louisiana, 383 U.S. 131 (1966)), concerts (Cinevision Corp. v.

City of Burbank, 745 F.2d 560, 566 (9th Cir. 1984)), weddings (Kaahumanu v. Hawaii, 682

F.3d 789, 799 (9th Cir. 2012)), and political boycotts (NAACP v. Claiborne Hardware Co.,

458 U.S. 886 (1982)).

       Likewise, “live entertainment, such as musical and dramatic works, fall within the
First Amendment guarantee.” Schad v. Borough of Mt. Ephraim, 452 U.S. 61, 65 (1981). See

also Berger v. City of Seattle, 569 F.3d 1029, 1036 n.4 (9th Cir. 2009) (en banc) (street

performances are “performance art” protected by First Amendment); White v. City of Sparks,

500 F.3d 953, 955 (9th Cir. 2007) (“[T]he Supreme Court has been clear that the arts and

entertainment constitute protected forms of expression under the First Amendment…”);

IOTA XI Chapter of Sigma Chi Fraternity v. George Mason Univ., 993 F.2d 386, 389 (4th

Cir. 1993) (“First Amendment principles governing live entertainment are relatively clear:

short of obscenity, it is generally protected.”).

       Pageants fall within this framework. Pageants are simultaneously a competition, live-

entertainment show, group production, and televised event. Like a parade or a play, beauty

pageants exist to communicate messages to audiences. See Norma Kristie, Inc. v. City of

Okla. City, 572 F. Supp. 88, 91 (W.D. Okla. 1983) (pageant for men impersonating women

was protected speech); Complaint at ¶ 1 (“comparisons of beauty and femininity remain

central to the theme of pageants”).




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       Through its “Miss United States of America” pageant, Defendant encourages

biological women, promotes positive self-images, advocates community service, and

provides contestants with a network of support. Complaint at ¶¶ 15, 17; Ex. A. Defendant

also speaks through its contestants by giving them “a voice in a public forum” and an
opportunity to “gain public and media exposure.” (Complaint at ¶ 17.) While “a narrow,

succinctly articulable message is not a condition of constitutional protection,” Hurley, 515

U.S. at 569, the Complaint’s allegations underscore the message and expressive nature of

Defendant’s pageant.

       Because Defendant’s pageant is protected speech, like the Hurley parade, “[t]he

selection of” contestants “to make” this pageant “is entitled to similar protection.” Hurley,
515 U.S. at 570. Like a television or film producer, Defendant can cast who performs in its

entertainment event because that casting decision affects the content of its production. As a

federal court held about the reality-television show, The Bachelor, “casting decisions are part

and parcel of the creative process behind a television program … thereby meriting First

Amendment protection …” Claybrooks v. Am. Broad. Cos., Inc., 898 F. Supp. 2d 986, 993

(M.D. Tenn. 2012).

       Like a film or television show, Defendant shapes its message of biological female

empowerment by choosing contestants through its eligibility rules. For example, to

communicate that women are biological females, Defendant only allows natural born

females to participate in its pageant, compete for Defendant’s title, and be promoted through

Defendant’s platform. Likewise, to promote body positivity and pageant contestants as

community role models, Defendant excludes applicants who have “posed nude in film or

print media.” (Complaint at ¶ 20; Ex. A at 2-3.) To signify that womanhood is not tied to

citizenship, marital status, or childbearing, Defendant accepts U.S. citizens and residents,

unwed women, women in opposite-sex marriages, women in same-sex marriages, and



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women with and without children. Ex. A at 2-3. In all these ways, Defendant engages in

protected speech.

       Plaintiff’s requested relief compels Defendant to speak in violation of the First
       Amendment.
       Because Defendant speaks through its pageant and through selecting who participates
in it, Plaintiff’s requested relief would change Defendant’s speech and alter the content of

that speech by compelling Defendant to accept and promote Plaintiff as a female contestant.

       According to Plaintiff, Defendant must allow Plaintiff and other biological men who

identify as women to participate in Defendant’s pageant or Defendant violates the Act.

Complaint at ¶¶ 2, 22-23.) But this compulsion would force Defendant to promote the

message that biological men who identify as women are “women,” and that such men can be
and should be considered women and celebrated as women.

       Under Hurley, that unconstitutionally compels Defendant to speak.

       Since Hurley, courts have repeatedly applied it to preserve speakers’ autonomy to
select who may participate in their expressive events, recognizing that participation affects

expression. Warden v. Miranda, 751 F. App’x 1030, 1031 (9th Cir. 2019) (rally properly

excluded protester “seeking to spread his discordant message”); Claybrooks, 898 F. Supp. 2d
at 990 (applying Hurley to conclude that television producers could not be compelled to

allow and promote particular participants in reality-television show); Gathright v. City of

Portland, 439 F.3d 573, 577-78 (9th Cir. 2006) (Hurley protects right to choose who

participates in speech).

       These cases apply here. Like a parade, festival, television show, theater production, or

film, a pageant conveys its message in part based on who the pageant allows to compete,

who the pageant promotes on stage, what messages those contestants speak, and what their

participation conveys to the public. Thelma & Louise would convey a much different

message if it starred men instead of women. See also Miller v. Texas State Bd. of Barber


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Examiners, 615 F.2d 650, 654 (5th Cir. 1980) (“[I]t is likely that a black actor could not

appropriately portray George Wallace, and a white actor could not appropriately portray

Martin Luther King, Jr.”).

       So too with Defendant’s pageant. Defendant cannot convey its message of
empowering, encouraging, and celebrating biological women if it is forced to allow

biological men to participate in, compete in, and be promoted as women in Defendant’s

pageant. Plaintiff’s participation would radically transform Defendant’s message: from

celebrating biological women as women to celebrating biological men as women.

       Indeed, Plaintiff’s entire lawsuit is premised on changing Defendant’s message.

Plaintiff seeks to access Defendant’s “speaking platforms” and “media exposure.”
(Complaint at ¶ 19.) Plaintiff intends to use these privileges and to use access to Defendant’s

pageant to “be a positive and inspiring example to all women.” Id. at ¶ 29. To be sure, many

may consider Plaintiff’s goals and message “laudable.” Claybrooks, 898 F. Supp. 2d at 1000.

But “the First Amendment prevents [Plaintiff] from effectuating these goals by forcing”

Defendant “to ‘showcase’ a more progressive message.” Id. (granting a motion to dismiss an

anti-discrimination claim because forcing a reality television show to cast particular

contestants would violate First Amendment). “[T]he concept that government may restrict

the speech of some elements of our society in order to enhance the relative voice of others is

wholly foreign to the First Amendment…” Buckley v. Valeo, 424 U.S. 1, 48–49 (1976).

       Many courts agree. Speakers have the right to control who competes in, affects, and

delivers their expressive content. McDermott v. Ampersand Pub., LLC, 593 F.3d 950, 962

(9th Cir. 2010) (newspaper could select its writers because “[t]o the extent the publisher’s

choice of writers affects the expressive content of its newspaper, the First Amendment

protects that choice”).




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          Plaintiff’s requested relief would alter, be triggered by, and award access based
          on content and viewpoint.
          Although Defendant meets the Hurley test for compelled speech, the Act compels

Defendant’s speech in a particularly troubling way: based on content and viewpoint. Content

and viewpoint regulations also trigger strict scrutiny. Victory Processing, LLC v. Fox, 937

F.3d 1218, 1226 (9th Cir. 2019).

          Plaintiff’s requested relief regulates based on content and viewpoint in numerous

ways. For one, Plaintiff forces Defendant to change the content of its pageant and to speak a

message it does not want to. See supra § II.A.2. And “mandating speech that a speaker would

not otherwise make necessarily alters the content of the speech. We therefore consider the

Act as a content-based regulation of speech.” Riley v. Nat’l Fed’n of the Blind of N.
Carolina, Inc., 487 U.S. 781, 795 (1988). See also Klein, 410 P.3d at 1069 (affirming same

point).

          Next, Plaintiff’s requested application “draws distinctions based on the message a
speaker conveys.” Reed v. Town of Gilbert, 135 S. Ct. 2218, 2227 (2015). Plaintiff does not

seek to impose the Act if Defendant promotes only women of a certain height or political

party. It is only because Defendant seeks to promote biological women that Plaintiff invokes

the Act to punish Defendant. See Complaint at ¶ 24 (admitting that the Act does not affect

the “Miss Universe pageant franchise” because it includes men who identify as women).

          In this way, Defendant’s “expression of a particular viewpoint [promoting biological
females] triggered an obligation to permit other speakers [men who identify as women], with

whom [Defendant] disagreed, to use [Defendant’s pageant] to spread their own message.”

Pacific Gas, 475 U.S. at 12-14. That imposes a “content-based penalty” and makes the

regulation “content based.” Id. at 13.

          Finally, Plaintiff’s requested relief regulates based on viewpoint because it only

awards access to those expressing particular views. Indeed, Plaintiff does not seek to force



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Defendant to open its pageant to the “public at large” or to Republicans or Democrats.

Plaintiff’s demanded “[a]ccess is limited to persons or groups … who disagree with

[Defendant’s] views…”and who seek to “disseminate hostile views”—i.e., the view that men

who identify as women are women. Pacific Gas, 475 U.S. at 10. The natural result is that
Defendant will be deterred from speaking its preferred view in order to avoid violating the

Act. Id. That result makes Plaintiff’s requested relief a viewpoint-based regulation. Id.

       B.      The Act would violate the First Amendment by forcing Defendant to
               expressively associate.
       Not only would Plaintiff’s requested relief compel Defendant to “speak,” it would

also compel it to expressively “associate.” The First Amendment protects the right “to

associate with others in pursuit of a wide variety of political, social, economic, educational,
religious, and cultural ends.” Roberts v. United States Jaycees, 468 U.S. 609, 622 (1984).

And the government may not infringe this right by, for example, forcing “inclusion of an

unwanted person in a group” if doing so affects “the group’s ability to advocate public or
private viewpoints.” Boy Scouts of America v. Dale, 530 U.S. 640, 648 (2000).

       In other words, the “[f]reedom of association ... plainly presupposes a freedom not to

associate.” Roberts, 468 U.S. at 623 (emphasis added).
       The Supreme Court uses a three-step test to make this determination: (1) the group

must “engage in some form of expression,” Dale, 530 U.S. at 648; (2) “the forced inclusion”

must “significantly affect the [organization’s] ability to advocate public or private
viewpoints,” id. at 650; and (3) the application in question must satisfy strict scrutiny, id. at

656-657. Defendant satisfies each of these factors, and the Court should dismiss this case.

See infra §§ II.B.2-3 (discussing first two factors); § II.C (discussing strict scrutiny for both

compelling speech and association).

       But before reviewing that test, a summary of Boy Scouts of America v. Dale, 530 U.S.

640 (2000), and Apilado v. North American Gay Amateur Athletic Alliance, 792 F. Supp. 2d


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1151 (W.D. Wash. 2011), which applies Hurley and Dale, shows how these cases are also

dispositive of this one.

   1. The U.S. Supreme Court’s decision in Dale, and the federal trial court’s decision
      in Apilado, also dictate the dismissal of this case.
       The Supreme Court’s decision in Boy Scouts of America v. Dale, 530 U.S. 640

(2000), relying heavily on Hurley, also supports the Court holding that Plaintiff’s lawsuit

seeks to improperly infringe on Defendant’s First Amendment rights. So, the Court should

dismiss this case.
       In Dale, the petitioners were the Boy Scouts of America and one of its councils, a

division of the Boy Scouts of America. Dale, 530 U.S. at 643. “The Boy Scouts asserts that

homosexual conduct is inconsistent with the values it seeks to instill.” Id. at 644. The
respondent was James Dale, “a former Eagle Scout whose adult membership in the Boy

Scouts was revoked when the Boy Scouts learned that he is an avowed homosexual and gay

rights activist.” Id. Dale filed a discrimination complaint against the Boy Scouts,
complaining—just like plaintiff here— that the Boy Scouts had violated New Jersey’s public

accommodations statute by revoking Dale’s membership based solely on his sexual

orientation. Id. at 645. New Jersey’s public accommodations statute, like Oregon’s, prohibits
discrimination on the basis of sexual orientation in places of public accommodation. Id. Like

here, the issue was whether applying New Jersey’s public accommodations law to force the

Boy Scouts to readmit Dale violated the Boy Scouts’ First Amendment right of expressive
association. Id. at 644.

       The Supreme Court said that “[f]orcing a group to accept certain members may

impair the ability of the group to express those views, and only those views, that it intends to

express.” Id. at 648 (emphasis added). The Boy Scouts engaged in expressive association

because they sought to “to transmit … a system of values.” Id. at 650.




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       Because “the Boy Scouts engages in expressive activity” the Court had to decide

“whether the forced inclusion of Dale as an assistant scoutmaster would significantly affect

the Boy Scouts’ ability to advocate public or private viewpoints.” Id. (emphasis added).

       The Boy Scouts asserted that “homosexual conduct is inconsistent with the values” of
being “‘morally straight’ and ‘clean,’” its teachings “that homosexual conduct is not morally

straight,” and its desire not “to promote homosexual conduct as a legitimate form of

behavior.” Id. at 650-651. After giving “deference to” the Boy Scouts’ “assertions regarding

the nature of its expression,” the Court then had to “determine whether Dale’s presence as an

assistant scoutmaster would significantly burden the Boy Scouts’ desire to ‘not promote

homosexual conduct as a legitimate form of behavior.’” Id. at 653.
       Dale was “one of a group of gay Scouts” who had “‘become leaders in their

community and are open and honest about their sexual orientation.’” Id. Therefore, Dale’s

“presence in the Boy Scouts would” have forced the Boy Scouts “to send a message, both to

the youth members and the world, that the Boy Scouts accepts homosexual conduct as a

legitimate form of behavior.” Id.

       That message was “inconsistent with the values” the Boy Scouts seek to instill in its

members, and “the presence of Dale as an assistant scoutmaster would surely interfere with

the Boy Scouts’ choice not to propound a point of view contrary to its beliefs.” Id. at 654.

       In reaching this conclusion, the Supreme Court observed that associations “do not

have to associate for the ‘purpose’ of disseminating a certain message in order to be entitled

to the protections of the First Amendment.” Id. at 655. Instead, an “association must merely

engage in expressive activity that could be impaired in order to be entitled to protection.” Id.

       Because the inclusion of Dale “would significantly affect” the Boy Scouts’

expression, the Court finally looked into “whether the application of New Jersey’s public




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accommodations law to require that the Boy Scouts accept Dale as an assistant scoutmaster

runs afoul of the Scouts’ freedom of expressive association.”

       New Jersey’s public accommodations law “does not justify such a severe intrusion on

the Boy Scouts’ rights to freedom of expressive association.” Id. at 659.
       Next, because it applies Dale to similar facts—but with the “tables turned,” the Court

should consider the decision of its sister court in Apilado v. North American Gay Amateur

Athletic Alliance., 792 F. Supp. 2d 1151 (W.D. Wash. 2011).

       Apilado “arises from the disqualification of a softball team from the 2008 Gay

Softball World Series” by North American Gay Amateur Athletic Alliance (NAGAAA),

because the team violated its rule limiting each team to a maximum of two heterosexual
players. Id. at 1155. Plaintiffs, two straight members of the team, asked the court to rule that

NAGAAA “unlawfully discriminated against Plaintiffs based on their actual or perceived

sexual orientation.” Id. at 1156.

       NAGAAA was an expressive association “well within the wide boundaries that the

Supreme Court has drawn.” Id. at 1161. NAGAAA’s mission was to “promote amateur

sports competition, particularly softball, for all persons regardless of age, sexual orientation

or preference, with special emphasis on the participation of members of the gay, lesbian,

bisexual and transgender (GLBT) community.” Id.

       In Apilado, like here, the question was, under Dale, “whether forcing NAGAAA to

include an unlimited number of heterosexual players would significantly affect its expressive

activity.” Id. at 1162 (emphasis added) The court held it “would be difficult for NAGAAA to

effectively emphasize a vision of the gay lifestyle rooted in athleticism, competition and

sportsmanship if it were prohibited from maintaining a gay identity.” Id. “NAGAAA’s

efforts to promote an athletic, competitive, sportsmanlike gay identity, with a unique set of

values” are “protected by the First Amendment. “ Id. Therefore “[f]orced inclusion of



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straight athletes would distract from and diminish those efforts.” Id. (emphasis added). When

deciding whether the admission of someone would interfere with a chosen expressive

purpose, “the Supreme Court requires a degree of judicial deference.” Id. at 1161 (citing

Dale, 530 U.S. at 653). And courts defer here regardless of the popularity of any view: “‘it is
not the role of the courts to reject a group’s expressed values because they disagree with

those values or find them internally inconsistent.’” Apilado, 792 F. Supp. 2d at 1162 (quoting

Dale, 530 U.S. at 650).

       For these reasons, NAGAAA could not be compelled to include heterosexuals: The

First Amendment protected the league’s freedom to exclude heterosexuals because their

“membership would negatively impact [NAGAAA’s] expressive activity.” Id. at 1156.
       The court in Apilado finally considered whether “NAGAA’s interest in expressive

association outweighs the state’s interest in eradicating discrimination.” Id. at 1163. For that,

the plaintiffs had failed to show the state had a compelling interest in eradicating

discrimination through forcing “heterosexuals to play gay softball.” Id. See also Kristie v.

City of Oklahoma City, 572 F Supp 88, 89-92 (D Ok 1983) (holding that the “Miss Gay

America Pageant,” which involves “men dressing as women,” and “the competition is based

on the way a person transforms himself through the art of illusion” to “look like a woman” is

an “expressive activity” and is “therefore subject to the strictures of the First Amendment,”

because “the First Amendment is not an art critic. Plaintiff’s production includes a talent

competition with singing and dance,” which is protected, and “government officials at all

levels must shoulder the responsibility of following the law and upholding the Constitution,

even when to do so is unpopular.”) (citation omitted).

       Hurley, Dale, Apilado, and Kristie provide the framework for applying Dale’s three-

part test for First Amendment freedom of association. Applying that framework here, the

Court should dismiss plaintiff’s Complaint.



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   2. Defendant engages in expression.

       At step one, the Supreme Court in Dale found the Boy Scouts engaged in expression

by looking at its mission statement and how its members instilled certain values, “both

expressly and by example,” through instruction and activities like camping. Dale, 530 U.S. at
649-650. Notably, the First Amendment protects expression of popular and unpopular views,

and “the fact that an idea may be embraced and advocated by increasing numbers of people

is all the more reason to protect the First Amendment rights of those who wish to voice a

different view.” Id. at 660 (emphasis added). Also, Kristie specifically holds that a beauty

pageant is an “expressive activity” subject to First Amendment protection.

       In deciding whether an organization is expressive, courts must “give deference to an
association’s assertions regarding the nature of its expression.” Id. at 685. Like the Boy

Scouts, a gay softball league, and the pageant in Kristie, Defendant satisfies the low bar for

expression. As shown above, Defendant engages in expression. See supra §II.A.1. And

Defendant has a clear mission: to empower, promote self-confidence in, and provide

community service platforms for biological women. Ex. A at 1 (emphasis added). Defendant

helps instill these values by providing contestants with “the opportunity to boost their

confidence, improve their public speaking skills, have a voice in a public forum, gain public

and media exposure, engage in social and civic benefits, build their resume, earn

scholarships, and travel.” (Complaint at ¶ 17.) Defendant does this while also encouraging

community and “sisterhood” among contestants. Id. at ¶ 15; Ex. A at 1. In all of these ways,

Defendant engages in expression under Dale and Apilado ,just like the pageant in Kristie was

held entitled to First Amendment expressive activity protection.

   3. The Act significantly affects Defendant’s expression.

       At step three, “forced inclusion of an unwanted person in a group infringes the

groups’ freedom of expressive association if the presence of that person affects in a



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significant way the group’s ability to advocate public or private viewpoints.” Dale, 530 U.S.

at 648. And again, courts “give deference to an association’s view of what would impair its

expression.” Id. at 653.

       The logic and holdings of Hurley, Dale, and Apilado—which prohibit the forced
inclusion of persons who significantly burden an association’s expression—apply here.

Defendant seeks to empower, encourage, and promote only natural born women. Ex. A at 1.

So, if Plaintiff could force men who “identify” as women to compete in, promote themselves

in, and speak conflicting messages during Defendant’s pageant, that would significantly

affect Defendant’s message, just like Dale holds that the Boy Scouts cannot be forced to

accept gay scoutmasters.
        Defendant cannot authentically or persuasively promote its message of empowering

biological women if Defendant is forced to celebrate and promote biological men who

identify as women. See Our Lady’s Inn v. City of St. Louis, 349 F. Supp. 3d 805, 820-823

(E.D. Mo. 2018) (prolife group “would be hindered if they were required to employ

dissenters from their pro-life message”).

       This conflict is doubly apparent here because of Plaintiff’s activism as a transgender

pageant contestant. As Dale noted, the gay assistant scoutmaster’s presence in the Boy

Scouts would have especially affected its expression because he was a “leader[] in [his]

community,” “open and honest about [his] sexual orientation,” “copresident of a gay and

lesbian organization at college,” and “remains a gay rights activist.” Dale, 530 U.S. at 653.

In the same way, Plaintiff competes as an “openly transgender contestant” and wants to use

Defendant to be elevated as “a positive and inspiring example to all women.” (Complaint at

¶¶ 27, 29.) Plaintiff cannot undermine Defendant’s desired message this way. Doing so

would violate the First Amendment, as held in Hurley, Dale, and Apilado.




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       C.     The Act fails strict scrutiny if applied as Plaintiff requests.
       Because Plaintiff’s requested relief violates Defendant’s First Amendment rights, this

application must survive strict scrutiny. To pass that test, Plaintiff must show the requested

relief is narrowly tailored to serve a compelling interest. Reed, 135 S. Ct. at 2226; Dale, 530

U.S. at 648. Plaintiff cannot do so.

       First, Plaintiff will invoke the need to stop gender identity discrimination generally.

But strict scrutiny “look[s] beyond broadly formulated interests” to consider “the asserted

harm of granting specific exemptions to particular … claimants.” Gonzales v. O Centro

Espirita Beneficiente Uniao do Vegetal, 546 U.S. 418, 431 (2006) (emphasis added).
       So, the question is not whether ending status discrimination by restaurants or hotels or

businesses generally serves compelling interests. Rather, the question is whether a state law

serves compelling interests when forcing one beauty pageant to speak and expressively
associate contrary to its core convictions. See Apilado, 792 F. Supp. 2d at 1163.

       The answer to this question is “no.” Indeed, the Supreme Court has already

recognized that state public accommodations laws are not even legitimate interests when

compelling speech or expressive association. Dale, 530 U.S. at 659 (“The state interests

embodied in New Jersey’s public accommodations law do not justify such a severe intrusion

on the Boy Scouts’ rights to freedom of expressive association.”); Hurley, 515 U.S. at 578 (a
Massachusetts public accommodations law had no “legitimate end” when applied to “require

speakers to modify the content of their expression”).

       Other courts agree. There is no anti-discrimination exception to the First Amendment.

See Telescope Media Grp. v. Lucero (TMG), 936 F.3d 740, 752-56 (8th Cir. 2019) (anti-

discrimination law could not force filmmakers to celebrate same-sex weddings); Brush &

Nib Studio, LC v. City of Phoenix, 448 P.3d 890, 904, 913-914 (Ariz. 2019) (anti-
discrimination law could not compel artists to create same-sex wedding invitations).




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       This conclusion is particularly apt here because Plaintiff already participates in other

pageants in Oregon. (Complaint at ¶ 28.) Indeed, Plaintiff is the 2019 Oregon Miss Earth

Elite titleholder. Id. And Plaintiff has also competed in pageants in Montana and Nevada,

and “other pageant programs include transgender females.” Id. at ¶¶ 24, 27-28. Plaintiff’s
participation in these pageants have provided Plaintiff with significant benefits. Id. at ¶ 29.

Because Plaintiff and others can so easily access these other pageants and convey their

message elsewhere, there is no reason to violate Defendant’s constitutional rights by forcing

it to accept plaintiff, particularly because the requested intrusion on Defendant’s rights is so

severe. “Forcing free and independent individuals to endorse ideas they find objectionable is

always demeaning…” Janus, 138 S. Ct. at 2464. See also Masterpiece Cakeshop, Ltd. v.
Colorado Civil Rights Com’n, 138 S. Ct. 1719, 1747-1748 (2018) (Justice Thomas,

concurring) (“It is one thing to conclude that the Constitution protects a right to same-sex

marriage; it is something else to portray everyone who does not share [that view] as bigoted”

and unentitled to express a different view, and “in future cases the freedom of speech could

be essential” to preventing the Supreme Court’s approval of gay marriage “from being used

to stamp out every vestige of dissent” and “vilify Americans who are unwilling to assent to

the new orthodoxy.”) (emphasis added).

       Moving to “narrow tailoring,” Plaintiff fails there too. To be narrowly tailored, a

requirement cannot be “under-inclusive” or “over-inclusive.” Animal Legal Defense Fund v.

Wasden, 878 F.3d 1184, 1204 (9th Cir. 2018). And the requirement must also be the “least

restrictive means among available, effective alternatives.” Id at 1198 (cleaned-up).

       But Plaintiff cannot satisfy these requirements because Plaintiff already can (and has)

accessed and won other pageants. The narrowly tailored solution is to let Plaintiff promote

Plaintiff’s message in these other pageants, and let Defendant promote its different message

in its own pageant.



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       Courts frequently allow these expressive choices, either by interpreting public

accommodation laws not to cover expressive organizations, or by allowing organizations to

make decisions to control their speech and expressive association under these laws. See, e.g.,

TMG, 936 F.3d at 757 (anti-discrimination law could still effectively regulate discriminatory
conduct without regulating speech); Treanor v. Washington Post Company, 826 F. Supp.

568, 569 (D.D.C. 1993) (refusing to consider a newspaper a public accommodation because

a contrary interpretation “requiring newspaper editors to publish certain articles or reviews

would likely be inconsistent with the First Amendment.”).

       Public accommodations typically do not compel speech or expressive association, yet

still achieve their goals of stopping discrimination. There is no valid reason to change this
general practice here.

       D.     Forcing Defendant to speak and associate endangers speakers of all
              different viewpoints.
       Plaintiff’s Complaint seeks to compel Defendant to open its live entertainment event
to biological men and thereby force Defendant to alter the content of its event, and speak a

message Defendant disagrees with. While this lawsuit only seeks relief against Defendant,

the legal principle it advances reaches far beyond this case and these parties.

       Take the pageant context first. Many pageants select participants to further their

message. Ruling for Plaintiff would enable anyone to compel these other pageants to speak

messages they disagree with. The Miss Gay America Pageant, for example (which only
allows men who impersonate women6), could be forced to include anyone regardless of sex.

Kristie, 572 F. Supp. at 90. Or the Miss Native American Pageant could be forced to accept




6
 Complete MGA Handbook, Miss Gay America, http://www.missgayamerica.com/complete-
mga-handbook.html (last visited Feb. 4, 2020)


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any woman regardless of national origin.7 And then the Miss Black USA pageant could be

compelled to include all Caucasians who “identify” as Black.8

       But the ramifications do not stop there. Plaintiff’s theory would justify forcing a gay

softball league designed to “promot[e] athletic competition and physical health in support of

the gay lifestyle” to allow heterosexual players. Apilado, 792 F. Supp. 2d at 1162. Or force

homeless shelters designed to help women suffering from sex-trafficking to allow men to

sleep next to those hurting women. See Downtown Soup Kitchen v. Municipality of

Anchorage, 406 F. Supp. 3d 776 (D. Alaska 2019) (enjoining an attempt to apply public

accommodations law this way).

       Even individual speakers would lose their freedom. Plaintiff’s theory would justify
forcing an atheist “whose business is writing commissioned music” to compose music for an

Easter service. Klein, 410 P.3d at 1069. Or force a Christian painter “who holds strong

religious convictions against same-sex marriage” to paint a same-sex “couple kissing at an
altar.” Id. The implications are staggering.

       So, in the end, this case is not only about one pageant’s ability to express its message

of biological, natural born female empowerment. It is about the freedom of all speakers to
engage in “free debate and free exchange of ideas,” and “to speak freely and to promote

diversity of ideas” without the fear of being sued for claimed emotional distress damages and

attorneys’ fees because someone disagrees with their views. Terminiello v. City of Chicago,
337 U.S. 1, 4 (1949). After all, this unique feature of American life is what “sets us apart

from totalitarian regimes” and protects all viewpoints equally. Id. See also Masterpiece

Cakeshop, 138 S. Ct. at 1747-1748 (Justice Thomas, concurring) (“It is one thing… to


7
  Register, Miss Native American Pageant,
http://www.missnativeamericanusa.com/register.html (last visited Feb. 4, 2020) (noting
contestants must be at least a quarter Native American).
8
  Eligibility, Miss Black USA, https://www.missblackusa.org/eligibility (last visited Feb. 4,
2020) (listing eligibility requirements).


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conclude that the Constitution protects a right to same-sex marriage; it is something else to

portray everyone who does not share [that view] as bigoted” and unentitled to express a

different view, and “the freedom of speech could be essential” to preventing the Supreme

Court’s approval of gay marriage “from being used to “stamp out every vestige of dissent”).

III.   The Act would also violate the Oregon Constitution by restraining Defendant’s
       expression.
       Article I § 8 of the Oregon Constitution prohibits laws from “restraining the free

expression of opinion, or restricting the right to speak, write or print freely on any subject

whatever.” Under this clause, a law unconstitutionally applies to expression if (A) it

“reach[es] privileged [i.e. protected] communication;” (B) enforcement of the law “burdens

[the speaker’s] right of free speech;” and (C) the burden on expression is impermissible. City

of Eugene v. Miller, 871 P.2d 454, 460 (Or 1994) (referencing elements). Defendant satisfies

each element.

       A.       Defendant engages in protected communication.

       Article I § 8 is “broader” than the First Amendment “and covers any expression of
opinion.” State v. Henry, 732 P.2d 9, 11 (Or 1987) (emphasis added). Expression of opinion

refers to an “expression that, in some way, appraises or judges an object, person, action, or

idea,” and even verbal statements, nonverbal cues, or anything “designed to convey
something about the communicator’s world view.” State v. Ciancanelli, 121 P.3d 613, 619

(Or 2005)

       Because Defendant engages in speech under the First Amendment, it also engages in
protected expression under the even broader clause of Oregon’s Constitution. See supra

§ II.A.1 (explaining how Defendant communicates a message about biological female

empowerment). Indeed, the Oregon Supreme Court holds that “a live public show in which
performers engage in certain sexual conduct” is “expression.” Ciancanelli, 121 P.3d at 636.

If this is expression, then, as a matter of law, defendant’s pageant is as well.


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       B.     The Act burdens Defendant’s expression.

       The Act burdens Defendant’s expression in three ways.

       First, the Act threatens to crush Defendant with alleged damages and attorneys’ fees if

it continues to promote its desired message of biological female empowerment. See supra §
II.A.2-3 (explaining this point); ORS 659A.885(8) (outlining remedies for violations).

Threatening to punish Defendant for speaking only its desired message in turn discourages

Defendant from speaking at all. Supra § II.A.2-3 (explaining how compelling speech can

also deter speech). See also Merrick v. Board of Higher Education, 841 P.2d 646, 651 (Or

App 1992) a law is unconstitutional when its “practical effect is to chill speech and other

expression”). In this sense, the Act functionally bans Defendant’s desired speech. See
Ciancanelli, 121 P.3d at 634 (law banning certain expression was an unconstitutional

restraint); City of Eugene, 871 P.2d at 460 (law banning book sales was an unconstitutional

restraint). See also Miami Herald Publishing Co. v. Tornillo, 418 U.S. 241, 256-258 (1974)

(law deterred newspaper from publishing desired editorials for fear of being required to

publish undesirable responses).

       Second, the Act undermines and dilutes Defendant’s message by forcing Defendant to

allow biological men who “identify” as women to compete in its pageant. Credibility is part

of the persuasiveness of any speaker. Defendant’s message uplifting biological, natural born

women is much less credible if Defendant must also promote men who identify as women.

       Third, the Act treats Defendant’s speech “more restrictively” than other speakers. City

of Eugene, 871 P.2d at 460 (this selectivity burdens expression). Specifically, Plaintiff

interprets the Act to allow pageants to accept and celebrate biological females, and men who

identify as women, but Plaintiff seeks to punish Defendant for promoting only biological

women. This disparate treatment turns on the message each pageant promotes. And that is

impermissibly burdensome.



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       C.      The Act impermissibly burdens Defendant’s expression.

       The Act impermissibly burdens Defendant’s expression because it (1) is “directed at

the content” of Defendant’s expression and (2) does not “advance[] legitimate state interests

…” State v. Babson, 326 P.3d 559, 575 (Or 2014).9

       First, the Act is directed at the content of Defendant’s expression because the law is

triggered by (and thereby deters) Defendant’s choice to only celebrate natural born females.

See supra § II.A.4 (explaining this point); see also Fidanque v. State ex rel. Or. Gov’t
Standards and Practices Comm’n, 969 P.2d 376, 379 n.4 (Or 1998) (noting apparently

neutral regulation had the effect of restricting political speech). In so doing, the Act treats

Defendant’s speech “differently on the basis of the content of [its] message.” Outdoor Media

Dimensions, Inc. v. Department of Transportation, 132 P.3d 5, 16 (Or 2006).

       Second, the Act does not advance legitimate state interests when it selectively

compels and deters Defendant’s message about empowering only biological women. See
supra § II.C (explaining this point); see also Outdoor Media, 132 P.3d at 17 (finding no

legitimate interest in “prohibit[ing] some expression, while permitting other expression

simply because the latter concerns a different subject”); Deras v. Myers, 535 P.2d 541, 549

(Or 1975) (“[N]ot even a compelling state interest … can justify infringement of

fundamental rights when less drastic means” are available.).

                                        CONCLUSION

       Defendant wants and is allowed to promote, celebrate, and encourage biological,

natural born women around the country. If Plaintiff’s demands are met, not only Defendant,

but speakers of all sorts—from large television and film studios to local theatre groups—

would be forced to speak and associate with messages they oppose. Both they and their

audiences would lose out on distinctive messages challenging our beliefs and exposing us to

9
 A law must also provide alternatives for communication. Babson, 326 P.3d at 575. But the Act
does not even clear the first two requirements here.


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new or different ideas. This Court should not allow that to happen. It should uphold the U.S.

Constitution by following Hurley and Dale—and Oregon’s Constitution, and dismiss

Plaintiff’s Complaint with prejudice.

       Respectfully submitted this 10th day of February, 2020.


                                           By: s/ John Kaempf

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                                           Attorney for Defendant




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                  EXHIBIT A




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  UNITED STATES ofyj,~PAGEANTSaredesignedto
  encourage women to strive to ACHIEVE their hopes, dreams, goals, and aspirations, while
  making them feel CONFIDENT and BEAUTIFUL inside and out! We believe the true

  definition of beauty is   "1fie.uniq~ \el"~~thattntW.!JGU, ~ Our motto is to EMPOWER
  Women, INSPIRE others, & UPLIFT everyone! We focus on women empowerment,
  promoting positive self-image and advocating a platform of community service, which
  allows our contestants to rise by lifting others. But more importantly we are an elite
  sisterhood that gives support and encouragement to inspire each delegate to be the best
  version of herself!


  "~~ twfool~~• ttw-'lee/!~flumflte~ ~lOOtnett"                                        -Kofi Annan




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IMPORTANT LINKS                                                          CONTACT
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Produced and Directed by Amber McMullen
Under hc.ense from United States of America Pageants                                           . : . ContactUs
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                   EXHIBIT B




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                                                                                                                                    *


                                                                                                                           0
              Anita Green




                                          12,7/18 3 -17 PM


                                                                                                                          Anita Green
      Hi, Ta nice. I was wondering if you could tell me
      more about the Miss United States pageant. I'm
 0    interested in learning more.                                                                         OPTIONS


                                                                                                           Search in Conversation
                                            Hello Anita. I am not affiliated with Miss United
                                            States, I am the Nabonal Director of Unrted States
                                            o f Amenca's Miss and would be, happy to give
                                                                                                           PRIVACY & SUPPORT
                                            you more information about our national
                                            program
                                                                                                       0



 (}   Sure!




 ()   Yes
                                                          I see you live in Oregon, is that correct?
                                                                                                       0

                                                                                                                           ••
                                                                                                                          Anita Green

                                            We already had our Oregon Pageant for this year,               OPTIONS
                                            however you can apply to represent a
                                            neighboring state such as Washington or Idaho at               Search in Conversation
                                            this years nationals or you can wait and compete
                                            in next years Oregon pageant
                                                                                                       0
                                                                                                           PRIVACY & SUPPORT


 ()   Do you have a website so I can read the rules?


                                            of course.
                                            www umtedstatesofamericaP-l!geants com




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                                                                                                                                 Anita Green

                                                                                                           OPTIONS


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                                                 United Sta tes of America Pageants

                                                 United States of America's Teen I Miss I Ms I Mrs.
                                                                                                           PRIVACY & SUPPORT
                                                 Pageants

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                                            if you provide me with your email I can send you
                                            more information
                                                                                                      0




       You know I'm transgender, right?

       Your rules seem to discriminate against                                                                                    Anita Green
  0    t ransgender women.

                                                                                                           OPTIONS
                                            I did not. our rules and regulations allow same sex
                                            marriage, however this is a natural pageant I
                                                                                                              Search in Conversation
                                            would be happy to assist you in finding a pageant
                                            that you qualify for.
                                                                                                      0
                                                                                                              PRIVACY & SUPPORT




  0
       Would you be willing to change the rules to allow
       transgenderwomen to compete?
                                                                                                          I
                                                  Again we would be happy to help you find an
                                                  pageant t hat you would qualify for, ho weve r at
                                                  this time we do not anticipate the rules changing.                      PRIVACY & SUPPORT
                                                                                                                0



        Well, I'll talk to my attorney about this then
        because discrimination is unacceptable. This
  ()    clearly is discrim ination.


                                                                       I a m sorry that yo u fee l that way.        llf"< ~ml,.., /, /018 al 4 011 PM




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                   EXHIBIT C




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 OFFICIAL APPLICATl,QN

  Payment Received                                 YES

  Payer Name                                       An ita Green

  Payer Address                                    2317 Leo Avenue, Misso ula, MT, 59808

  Payer Email                                      an itagreenmt@gmail.com

  Total Payment                                    20.00 USD

  Quantity                                         1
  NAME:                                            An ita Green

  DATE OF BIRTH:                                   1REDACTED
                                                     2~

  AGE:                                             28

  Emaill Address                                   an itagreenmt@gmail.com

  PHONE NUMBER:                                    4063172376

  Address                                          13224 SE 122nd Avenue Apartment       1111
                                                                                         REDACTED


                                                   , Clackamas, Oregon, 97015, US


 Pairent ,oir Guard ian 1.s, IEmai ll:                    anitagreenmt@g ma ii .com

                                                          Uniiitedl Stat es of America 1s Miss {18-28}

 Are you a1U.S. ciitiizen     ,0 1r   been                Yes
 g1ra ntedl Pe1rma n e,nt U.S.
 Resiidency ?·

 Are you curr,e ntly ima1
                        r r1ied?                          No

 Ha1ve you be,en pre,viiously                             No
 marriiedl?

 Do you have clhilldr en?                                 No

 Mull t1iplle ,c hoice                                    I wou ld liike to SCHEDULE AN !INTERVIEW
                                                          by phone t o be consiid ered for MY STATE
                                                          TIT l lE




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 Referred by:                               Google

 Upload Photo                               Download File
                                            View File

 I   have read the delegate packet

 Signature                                  View

 Locale                                     us
 Street Address                             2317 Leo Avenue

 City                                       Missoula

 State / Province                           MT

 Zip / Country                              59808

 Purcha se Details                          Paypal checkout: l x Appl icat ion Fee for
                                            $20.00; Tax: $0.00; Shipping: $0.00; Total:
                                            $20.00

 Purcha se Type                             One-time Purchase

 Confirmation Code                          42N587 63SK5098633




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                                                                            ••
              0       i paypal.com/activity/pa                  0            •




               <Back to Activity




                  Transaction details                           ~   Print


                  Payment refunded to Anita Green

                  January 29, 2019 at 11:37:11 AM PST

                  Transaction ID: REDACTED

                  Payment Status:         COMPLETED

                                                        Gross amount

                                                 -$20.00 USD

                  We have no postal address on file


                                                                    Net
                  Transaction Activity           Details
                                                              amount

                     Jan
                     29,
                          Payment from
                          Anita Green
                                                  .,       $19.12 USD
                     2019

                     Jan
                     29,
                     2019
                               PayPal fee
                               reversal
                                                  .,        $0.58 USD




                           ◄                @               ■



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                  Payment details


                  Gross Amount                         -$20.00 USD

                  PayPal fee refunded                   -$0.58 USD


                  Fee Refund Policy   g
                  Net Amount                           -$19.42 USD


                  Contact info

                  Anita Green
                  The receiver of this payment is Unverified
                  anitagreenmt@gmail.com

                  Payment Sent to

                  i nfo@u n itedstatesofa merica pageants.com



                  Note to Anita Green

                  The entry deadline for our 2019 pageant has
                  passed. We are not currently taking
                  applications for our 2020 pageant. So we are
                  issuing you a refund of the application fee.



                  Funding details

                  Funding Type: PayPal Balance
                  Funding Source: -$20.00 USD - PayPal
                  Account



                         ◄                                ■



Exhibit C to Defendant’s Motion To Dismiss                                 Page  of 
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                                CERTIFICATE OF SERVICE

       I certify that on February 10, 2020, I electronically filed the above motion with the

Clerk of the Court by the CM/ECF system. The following participant in the case who is a

registered CM/ECF user will be served by the CM/ECF system and email:


       Shenoa L. Payne, OSB No. 084392
       805 SW Broadway, Suite 470
       Portland, Oregon 97205
       (503) 517-8205
       spayne@paynelawpdx.com
       Attorney for Plaintiff


                                             s/ John Kaempf
                                             John Kaempf
                                             Attorney for Defendant




Certificate of Service                                                                Page 1
